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Debtor Name YZ Enterprises, Inc.

United States Bankruptcy Court for the: District of

Case number. 24-31033

Official Form 425C

C] Check if this is
amended filing

an

Monthly Operating Report for Small Business Under Chapter 11 4217
Month: July 2024 Date report filed: 08/21/2024
MM/DD/YYYY

Line of business: Manufacturing NAISC code: 311800

In accordance with title 28, section 1746, of the United States Code, | declare under penalty of perjury

that | have examined the following small business monthly operating report and the accompanying

attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party: Tamar Markham

Original signature of responsible party “Tae.

a
Printed name of responsible party Tamar Markham
Ee: . Questionnaire
Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
Yes No N/A
if you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.
4. Did the business operate during the entire reporting period? C) Q
2. Do you plan to continue to operate the business next month? w O
3. Have you paid all of your bills on time? W@ OQ C]
4. Did you pay your employees on time? ‘ wi tC) CO
5. Have you deposited all the receipts for your business into debtor in possession (DIP) accounts? w QO Q
6. Have you timely filed your tax returns and paid all of your taxes? wi QO Q)
7. Have you timely filed all other required government filings? @ 0 Oo
8. Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator? wd O Q)
9. Have you timely paid all of your insurance premiums? WwW oO Qa
if you answer Yes to any of the questions in lines 40-18, attach an explanation and label it Exhibit B.

10. Do you have any bank accounts open other than the DIP accounts? Cl) i OQ
11. Have you sold any assets other than Inventory? Oo ww OQ
12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way? CQ) wi Q)
13, Did any insurance company cancel your policy? QO wi
144. Did you have any unusual or significant unanticipated expenses? QO i Q
15. Have you borrowed money fram anyone or has anyone made any payments on your behalf? Q wf O
416. Has anyone made an investment in your business? C) wi C

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 1
DebtorName YZ Enterprises, Inc. Case number 24-31033

17.

18.

Have you paid any bills you owed before you filed bankruptcy?

Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?

Ov
6 &
OO

a :. Summary of Cash Activity for All Accounts

19.

20.

21.

22.

23.

Total opening balance of all accounts

This amount must equal what you reported as the cash on hand at the end of the month in the previous
month. if this is your first report, report the total cash on hand as of the date of the filing of this case.

Total cash receipts

Attach a listing of all cash received for the month and label it Exhibit C. Include all
cash received even if you have not deposited it at the bank, collections on
receivables, credit card deposits, cash received from other parties, or loans, gifts, or
payments made by other parties on your behalf. Do not attach bank statements in
lieu of Exhibit C.

Report the total from Exhibit C here. 5 116,116.48

Total cash disbursements

Attach a listing of all payments you made in the month and label it Exhibit D. List the

date paid, payee, purpose, and amount. Include all cash payments, debit card

transactions, checks issued even if they have not cleared the bank, outstanding

checks issued before the bankruptcy was filed that were allowed to clear this month,

and payments made by other parties on your behalf. Do not attach bank statements

in lieu of Exhibit D. = 94,396.23

Report the total from Exhibit D here.

Net cash flow

Subtract line 21 from line 20 and report the result here.
This amount may be different from what you may have calculated as net profit.

Cash on hand at the end of the month
Add line 22 + line 19. Report the resuit here.
Report this figure as the cash on hand at the beginning of the month on your next operating report.

This amount may not match your bank account balance because you may have outstanding checks that
have not cleared the bank or deposits in transit.

3_10,507.40

4 § 21,720.25

— 5 32,227.65

a :. Unpaid Bills

Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

24, Total payables g 695,983.12
(Exhibit E)
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Debtor Name YZ Enterprises, Inc. Case number 24-31033

ae :. Money Owed to You

Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
Identify who owes you money, how much is owed, and when payment is due. Report the total from

Exhibit F here.
25. Total receivables g__ 95,189.29
(Exhibit F)
a 5. Employees
26. What was the number of employees when the case was filed? 16
27. What is the number of employees as of the date of this monthly report? 18
a: Professional Fees
. How much have you paid this month in professional fees related to this bankruptcy case? $ 0.00
29. How much have you paid in professional fees related to this bankruptcy case since the case was filed? $ 0.00
30. How much have you paid this month in other professional fees? $ 0.00
31. How much have you paid in total other professional fees since filing the case? $ 0.00
a :. Projections
Compare your actual cash receipts and disbursements to what you projected in the previous month.
Projected figures in the first month should match those provided at the initial debtor interview, if any.
Column A Column 8 Column C
Projected — Actual = Difference
Copy lines 35-37 from Copy lines 20-22 of Subtract Column B
the previous month's this report. from Column A.
report.
32. Cash receipts g 175,412.76 — $116,116.48 = ¢ -59,296.28
33. Cash disbursements ¢ 176,420.63 — 3 94,396.23 = gs -81,024.54
34. Net cash flow g -1,008.03 — g¢ 21,720.25 g 20,712.22
35. Total projected cash receipts for the next month: $ 140,000.00
36. Total projected cash disbursements for the next month: = ¢ 137,183.34
37. Total projected net cash flow for the next month: =s5 2,816.66

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Debtor Name YZ Enterprises, Inc. Case number 24-31033

a 8. Additional Information

if available, check the box to the left and attach copies of the following documents.

Gi 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).
(J 39. Bank reconciliation reports for each account.

wi 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

i 41. Budget, projection, or forecast reports.

LJ 42. Project, job costing, or work-in-progress reports.

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 4
¥Z Enterprises, inc.

Case # 23-3103

Form 425C

Section 2. Summary of Cash Activity All Accounts
Line 20 - Total Cash Receipts

Exhibit C
YZ Enterprises

Cash Receipts July 2024

No. Date External Document No. Sell-to Customer No. Amount PAID Y/N
S1024989 | 7/9/2024 |009277 NASSAUPROVISIONS $7,344.00 |Y¥
$1025013 |7/11/2024 | 25874 EDGEOFTHEWOODS 122.40;Y
$1025038 7/12/2024 | 25997 ATKINSON'SMKT 241.56/Y
$1025042 (7/17/2024 |528132 NORDSTROM 123.50|Y
$1025043 7/17/2024 (531432 NORDSTROM 132.49|¥
S1025044 [7/17/2024 |542071-2 NORDSTROM _ 121.03 /¥
S1025045 | 7/17/2024 1544019-2 NORDSTROM 242,06/Y
51025046! 7/17/2024 |547665 NORDSTROM 132.49/Y
S1025047 | 7/17/2024 (552258 NORDSTROM 132.49 /¥
$1025048 | 7/17/2024 |554272 NORDSTROM 132.491Y
$1025064! 7/17/2024 80291 SWISSAMERICAN 475.20/Y
$1025066 | 7/18/2024 |8040358/40358 KEHELEHIGHVALLEY 8,751.25 /¥
51024976 (7/3/2024 (26202 KAZMAIERS 228.00 /¥
S1024977|7/8/2024 (4500134007 IHERB, INC 1,696.50/¥
S1024978 |7/8/2024 (4500134006 IHERB, INC 3,442.50/¥
S1024979|7/8/2024 (6122 GRADY WEBSITE 90.72\¥
SI024981/7/8/2024 [6059 - SPITZER WEBSITE 25,95/¥
$1024982/|7/8/2024 (6021 - COLE WEBSITE 33.95 /¥
S1024983/|7/8/2024 |6057 - KOCHHAR WEBSITE 33.95/¥
$1024984 |7/8/2024 |26077 LEESSUPERMARKET 174.62/Y
$1024985 | 7/8/2024 {25991 NOLTSMARKETPLACE 94.02\Y
$1024986| 7/8/2024 {6051 - LEE WEBSITE 66.50/Y
51024987 7/8/2024 (5993 - KOSSEY WEBSITE 85.00/Y
S1024988 7/8/2024 |6061 - BUNDY WEBSITE 76.00/Y
$1024990 7/9/2024 (547378 CHEXFINERFOODS 4,257.00/¥
$1024991 |7/9/2024 [249128 DII 3,496.50/¥
$1024992 7/9/2024 (051524-DC RODMANSSTORE 3,666.60/Y
S1024993 |7/9/2024 |274263-00 BANDCVALUESINC 7,408.80/¥
S1024994 7/9/2024 |26097 - LITVIN WEBSITE 53.451Y
51024995 | 7/9/2024 |6046 - CARTER WEBSITE 89.001Y
$1024996|7/1/2024 |25974 CAKMONTPRODUCE 595.50 /¥
S1024997 |7/9/2024 |6045 - CAFE WEBSITE 225.00 /¥
$1024998 |7/9/2024 |6036 - DERAKHSHANDEH | WEBSITE 79,50 /¥
$1024999/7/9/2024 |6037 - BURR WEBSITE 53.45 1¥
$1025000/7/9/2024 |6015 - JAEGER WEBSITE 79.50\¥
$1025001/|7/9/2024 |6011 REYNOLDS WEBSITE 79,50/¥ |
SI025002/7/9/2024 |6009 SIMONTOV WEBSITE 79.501¥
S1025003|7/9/2024 |6039 - SOBOV WEBSITE 77.951Y
$1025004/|7/9/2024 |6047 - GUPTILL WEBSITE 79.50/Y
S1025005 |7/9/2024 (26159 - LIS WEBSITE 79.50/¥
S1025006|7/9/2024 [MONAHAN - 6145 WEBSITE 79.50/¥
S1025007 |7/9/2024 |6007 - HALVORSEN WEBSITE 79.50/¥
S1025008 7/9/2024 (6035 - TERAKADO WEBSITE 79.50/¥
S1025009 7/1/2024 (26057 KAUNEFOODTOWN 171.06/Y
$1025010 7/10/2024 | 15690673 LONGOS 11,035.201¥
$1025011 7/10/2024 | 26217 HYMANJOY 54.00\¥
S1025012| 7/10/2024 [2525107 KEHEFOODDISTRIB 4,127.76/¥
$1025015 | 7/11/2024 | 79863 SWISSAMERICAN 475.20/¥
$1025016 |7/11/2024 |80033 SWISSAMERICAN 475.20/¥

$1025017 | 7/11/2024|26079 RUDYSACOOKSPARADISE 88.18/Y
$1025019|7/11/2024|26233 CHEESEBOX 71,36|Y
$1025020|7/11/2024 | 26235 REDCEDARCOFFEE 157.44/¥
$1025021 |7/11/2024|26237 SOFOFOODS 144.00/Y
'$1025022| 7/11/2024 | WHIPKEY - 6234 WEBSITE 96.00 Y
$1025023 | 7/11/2024 | 26243 BRINKMANS 161.04/Y
$1025024 [7/11/2024 26246 LOVE FROM HOME 94.02 /Y
$1025025 | 7/11/2024 | FITCHKO - 6245 WEBSITE 79.50/Y
$1025026 | 7/11/2024 126229 HYMANJOY 40.02 /¥
$1025027 |7/11/2024 |26221 BACCHUSMARKET 67.02 Y
$1025028| 7/11/2024 |6064 - KOSTERICH WEBSITE 72.58|Y
§1025029| 7/11/2024 |6053 - RABIN WEBSITE 119.25/Y
$1025030/| 7/11/2024 |6033 KOSSEY WEBSITE 85.00/Y
$1025031|7/11/2024 |6060 - LESSER WEBSITE 79.50\¥
$1025032|7/11/2024|26231 LEONARDLABRIOLA 276.00/Y
$1025033/7/11/2024|26230 BASKETSBYBONNIE 61.02|¥
$1025034|7/11/2024|26216 HYMANJOY 40.02 /Y
$1025035| 7/15/2024 |P229216 STONEWALL KITCHEN 14,649.48 1Y
$1025039 7/1/2024 |5945 - SAITO WEBSITE 67.58|¥
$1025041 |7/8/2024 |25983 THECHEESESHOPPE 58.92/Y
$1025049 7/17/2024 |5948 -RATHLEIN WEBSITE 75.00/Y _
$1025050 |7/17/2024|25909 CORTIBROTHERS 176.68|Y ~
$1025051 7/17/2024 | 26232 ZABARS 872.24|¥
$1025052 | 7/17/2024 |5947 - LEE WEBSITE 85.00/Y
$1025053 |7/17/2024|25987 TTALIANSTORE 104.83/Y si
$1025054 | 7/17/2024 |BX6BHY9PVK FAIRE ~ 81.00/Y
$1025055 7/17/2024 | C3HQHVSVNS FAIRE 216.00/Y
$1025056 | 7/17/2024 |23T 7NTHCAV FAIRE 84.60/Y
S1025057 | 7/17/2024 | VPTNJ6BAMN FAIRE _ 153.90/Y
$1025058 | 7/17/2024 |S2NHYAV6ED FAIRE 108.00!Y
$1025060 7/1/2024 [6014 - CLARKSON WEBSITE 67.501Y
[51025061 7/12/2024 |MIYASHIRO - 6250 WEBSITE 138.50'Y
$1025062/ 7/12/2024 6050 - FINN WEBSITE 79.50|Y
$1025063 | 7/12/2024 6049 - FINN WEBSITE 79.50/¥
$1025065 (7/18/2024 548485 CHEXFINERFOODS 4,953.60Y  _—is|
S1025067 | 7/19/2024 |5982 LANDERS WEBSITE 159.00/Y
$1025068 | 7/22/2024 |085907 RHIRTIR 5,061.60 Y
$1025069 |7/22/2024|3401 DSMFOODSINC 2,711.28 ¥
$1025070 | 7/18/2024 | 26049 WEILANDSGURMETM 188.06 Y
$1025071 | 7/18/2024 |26085 OPENHARVEST 45.90/Y
$1025072|7/18/2024|6008 - CHO1 WEBSITE 76.50/Y
$1025073 | 7/18/2024 | 26151 NEWPORTAVENUEMARKET 178.58 Y _|
$1025074| 7/18/2024 6026 MANZO WEBSITE 122.00/Y
$1025075 | 7/18/2024 (6048 - KIERNAN WEBSITE 42.50'Y
$1025076| 7/18/2024 |6031 - OVCHINTSEV WEBSITE 67.58/¥
S1025077 | 7/18/2024 |6069 - PILJAY WEBSITE 42.83|¥ ]
$1025078 [7/18/2024 [6264 - SPENCE WEBSITE 79.50/Y
$1025079 7/18/2024 |6062 - CHEFER WEBSITE 135.15|Y
$1025080 |7/11/2024|26239 EASTMANPARTYSTORE 70.63/Y
$1025081 |7/18/2024|26012 LOTSAPASTA 179.88|Y
$1025082 7/18/2024 |6071 - GELEZUNAS WEBSITE 85.00/Y
$1025083 7/17/2024 |5972 IINYTSKA WEBSITE 32.45 1Y
S1025084 | 7/23/2024 1381 THELIONGROUP 7,840.80 /Y

$1025085 [7/24/2024 LSINTL324061343 DEKALBFARMERSMKT 2,085.45 |¥
S1025087 7/24/2024 26287 HYMANJOY 27.00/Y
$1025088 7/25/2024 |2858 IMPORTADORAAND 1,386.00|Y
$1025089 7/25/2024 |L240610-3ALM ABRAHAMNATURAL 5,044.50 /Y
$1025090 7/18/2024 6055 - PADILLA WEBSITE 55.95/Y
$1025091 | 7/18/2024 [6040 - MINEVICH WEBSITE 32.45/Y
§1025092 | 7/18/2024 |6010 CLOUGHEN WEBSITE 58.95/Y
$1025093 7/18/2024 6028 MYNIO WEBSITE 67.50/Y
$1025094 |7/18/2024 |6029 - BOST WEBSITE 69.00/Y
$1025095 | 7/18/2024 5996 - KIERNAN WEBSITE 32.45/Y
$1025096 | 7/18/2024 |5946 - MCPHAIL WEBSITE 85.50|Y
$1025097 | 7/17/2024 | 26223 WEBSITE 79.50|¥
$1025098 | 7/22/2024 | WEINSTEIN 6276 WEBSITE 32.45/Y
$1025099 |7/18/2024|6273 - MANZO WEBSITE 178.88/Y
$1025100 | 7/22/2024 |26280 VELLACHEESECO 72.04|Y
$1025101 | 7/22/2024 |JOHANSON 6067 WEBSITE 159.00|Y
$1025102 [7/25/2024 |26293 CHEZCHEEZE 158.06|Y
$1025103| 7/25/2024 | 26299 STPETERFOODCOOP 61.03/Y
$1025104 | 7/25/2024 | 26297 CHAMPAGNESMKT 128.20|Y
$1025 105 17/25/2024 [26291 BRONCSGROCERY 178.41/Y
$1025106 7/18/2024 6017 - WARK WEBSITE 69.75|Y
$1025107 7/25/2024 [26295 CORDELIASMARKET 95.96/Y
S1025108 7/22/2024 |26275 CASEYSFOODS 211.89/Y
$1025109 7/22/2024 6033 - KOSSEY WEBSITE 85.00/Y
$1025111 | 7/22/2024 |26282 BASKETSBYBONNIE 37.03 ,Y
$1025112 | 7/22/2024 |26242 CHURCHILL'SPERRYSBUR 412.68/¥
$1025113| 7/22/2024 [26284 SCHNECKMEDICALCENTER 65.39/Y
$1025114 | 7/22/2024 |26285 BREADGARDENMARKET 61.03|Y
S1025115|7/22/2024 | 26286 MOUNTAINMAMANATURALF 66.26/Y
$1025116 | 7/22/2024 [26241 BASSETTSSUPER 401.12|¥
151025117 [7/18/2024 | 26236 DISCOUNTHEALTHFOODS 87.36[Y
$1025118|7/18/2024|6266 - OKEEFE WEBSITE 76.00/¥
$1025119| 7/25/2024 |26300 VALLEYCHEESE 119.06|Y
$1025120| 7/25/2024 |26296 DETOURMARKET 106.70[Y
$1025121| 7/26/2024 [SHAHID 6290 WEBSITE 130.01/Y
$1025122!7/26/2024 |26222 NATURESDISCOUNT 215.867
$1025123 7/25/2024 [26294 MARKETFRESH 243.39|Y
$1025124 7/25/2024 |26292 GOLDSDELI 146.06 /Y
$1025125 7/9/2024 [6044 - WINTER WEBSITE 27.95|Y
$1025126 7/11/2024 |6066 - PALMER WEBSITE 36.95/Y
$1025127 | 7/22/2024 |6038 - PORTMAN WEBSITE 180.63|Y
$1025129 7/29/2024 [100091592 THREERIVERSMARKET 110.43|Y
$1025130/| 7/29/2024 6079 - GORDON WEBSITE 159.00/Y
$1025131 | 7/29/2024 6080 - MACINTYRE WEBSITE 67.50|Y
§1025132 [7/29/2024 26283 FISHERSMARKET 63.21|¥
$1025133| 7/26/2024 |26301 HICKMANGIFTSHOP 74.99/Y
$1025134|7/26/2024 26302 HENRYFORDHOSPITAL 40.03/Y
$1025135 | 7/29/2024 26308 COUNTRYGOODSGROCERY 66.75|Y
$1025136 | 7/26/2024 |26303 BOLTONORCHARDS 123.50'¥
$1025137 | 7/25/2024 [26298 SOMERSVILLAGEGI 231.09/Y
$1025138 7/31/2024 [26334 SAMPLES 0.00/Y
$1025139 7/31/2024 [6081 - MAHER WEBSITE 32.45 /¥
$1025140/| 7/31/2024 [6324 MANZO WEBSITE 0.00/Y

$1025142|7/31/2024/6068 - CAZACU WEBSITE 79,501
$1025143 | 7/31/2024 |6267 - RECHT WEBSITE 79,50lY
$1625144|7/31/2024|6019 - FAIA WEBSITE 44,951Y
51025145 | 7/29/2024 |ERENRICH - 6315 WEBSITE 91.50!Y
$1025146 [7/31/2024 |26016 HOLIDAYMARKET 104.82/Y
Total Cash Receipts $ 116,116.48

YZ Enterprises, Inc.

Case # 23-31033

Form 425¢€

Section 2. Summary of Cash Activity All Accounts

Line 21, Total Cash Disbursements

Exhibit D
heck

Purchas nyt Check/Debit Numbe Cleared
@ Date Buy-from Vendor No. Amount _ Purpose Card r Y/N
7/1/24 SOFO $ 1,672.16 FLOUR/SUGAR DEBIT CARD ¥
7/1/24 CRYSTALLAKE 2,133.00 EGGS CHECK VV006 ¥
7/2/24 LEASEDIRECT 399.75 EQUIPMENT LEASE ACH ¥
7/5/24 CRYSTALLAKE 2,133.00 EGGS CHECK V¥V008 ¥
7/5/24 NORTHVIEW CAPITAL 2,000.00 SECURED CREDITOR PAYMENT ACH ¥
7/8/24 GROTE 2,008.72 SLICER BLADES DEBIT CARD ¥
7/8/24 SOFO 2,383.90 FLOUR/SUGAR DEBIT CARD Y¥
7/9/24 GORDONSFOOD 14.99 INGREDIENTS DEBIT CARD Y
7/9/24 BULKFOODS 84.58 INGREDIENTS DEBIT CARD Y
7/9/24 WELLS FARGO 849.50 EQUIPMENT LEASE ACH Y
7/10/24 UNIFIRSTCORP 287.94 LAB COATS CHECK vv002 Y
7/10/24 XPO LOGISTICS 1,268.20 FREIGHT ONLINE PAYMENT Y
7/10/24 TRAVELERS INSURANCE 1,631.50 INSURANCE ONLINE PAYMENT Y
7/10/24 YZ PAYROLL TAXES/INVOICE 3,678.22 PAYROLL ACH Y¥
7/11/24 AMERICAN EXPRESS 2,875.29 INGREDIENTS ONLINE PAYMENT ¥
7/12/24 LIPARIFOODS 4,254.19 INGREDIENTS ACH XY
7/12/24 PHOENIXSVCS 10,965.63 PAYROLL CHECK ¥V010 ¥
7/12/24 PHOENIXSVCS 200.54 PAYROLL CHECK Vv011 Y
7/12/24 ORKIN 258.58 PEST CONTROL CHECK Vv007 Y
7/15/24 ¥Z PAYROLL 1,171.62 PAYROLL CHECK 6 ¥
7/15/24 YZ PAYROLL 1,738.24 PAYROLL CHECK 7 ¥
7/15/24 ¥Z PAYROLL 1,425.13 PAYROLL CHECK & ¥
7/15/24 YZ PAYROLL 1,305.78 PAYROLL CHECK 9 Y
7/15/24 ¥Z PAYROLL 2,464.70 PAYROLL CHECK 10 Y
7/15/24 ¥Z PAYROLL 1,001.00 PAYROLL CHECK 11 ¥
7/15/24 YZ PAYROLL 293.42 PAYROLL CHECK 12 Y
7/15/24 ¥2Z PAYROLL 213.23 PAYROLL CHECK 13 ¥
7/15/24 VOYA 95.57 401K ACH Y
7/15/24 SPECTRUM 173.92 INTERNET . ONLINE PAYMENT ¥
7/16/24 WELCH PACKAGING 570.94 CORRUGATED CHECK VV013 ¥
7/17/24 LIPARIFOODS 941.13 INGREDIENTS ACH ¥
7f1sf24 UNIFIRSTCORP 575,88 LAB COATS CHECK vvo09 ¥
7/19/24 VOYA 590,92 401K ACH ¥
7/22/24 NATIONAL PLASTICS 263.72 BAKERY SUPPLIES CHECK vVv015 Y¥
7/24/24 ¥Z PAYROLL TAXES/INVOICE 4,341.57 PAYROLL ACH ¥
7/25/24 COLUMBIAGAS 98.36 UTILITIES ONLINE PAYMENT ¥
7/25/24 COLUMBIAGAS 1,019.30 UTILITIES ONLINE PAYMENT ¥
7/25/24 WELCH PACKAGING 1,959.90 CORRUGATED CHECK VV017 ¥
7/25/24 CINCINNATI INSURANCE 2,534.00 INSURANCE ONLINE PAYMENT Y
7/26/24 ORKIN 129.29 PEST CONTROL CHECK VV014 ¥
7/26/24 PHOENIXSVCS 7,924,598 PAYROLL CHECK VVO019 ¥
7/26/24 FEDERAL EXPRESS 524.88 FREIGHT ONLINE PAYMENT Y
7/29/24 TOLEDOEDISON 2,500.00 UTILITIES ONLINE PAYMENT Y¥
7/29/24 ¥Z PAYROLL 1,171.63 PAYROLL CHECK 14 _Y
7/29/24 ¥Z PAYROLL 1,738.24 PAYROLL CHECK 15 Y¥
7/29/24 ¥2Z PAYROLL 2,511.85 PAYROLL CHECK 16 ¥
7/29/24 YZ PAYROLL 1,305.79 PAYROLL CHECK 17 ¥
7/29/24 ¥Z PAYROLL 2,313.37 PAYROLL CHECK 18 Y
7/29/24 ¥Z PAYROLL 1,001.00 PAYROLL CHECK 19 ¥
7/29/24 PRAIRIE STATE IMPRESSIONS 2,208.93 FILM CHECK vvo20 N
7/29/24 | NORTHWEST INDUSTRIAL COMPRESSOR §52.50 REPAIRS CHECK ¥v022 Y
7/29/24 VOYA 95.57 401K ACH Y
7/29/24 . FEDERAL EXPRESS 280.97 FREIGHT ONLINE PAYMENT Y
7/29/24 CITY OF MAUMEE 634.73 WATER UTILITIES ONLINE PAYMENT ¥
7/29/24 SPS COMMERCE 914.92 EDI PO SERVICE ACH Y
7/30/24 B&B BOX COMPANY 1,402.00 CORRUGATED CHECK VV021 Y
7/30/24 DETROIT FORMING 3,480.75 PRODUCT TRAYS ACH ¥
7/31/24 REPUBLICSVCTOLEDO 35.00 GARBAGE ONLINE PAYMENT ¥
7/31/24 REPUBLICSVCTOLEDO 1,595.81 GARBAGE ONLINE PAYMENT Y

94,200.23

Bank Service Charges 35.00

25.00
20.00
80.00
36.00

Total Disbursements

$94,396.23

YZ Enterprises, Inc.
Case # 23-31033
Foren 425C
Section 3. Unpald Bills
Line 24, Total Payables

Exhibit E
Aged Accounts Payable Tuesday, August 20, 2024 1:03 PM

YZ Enterprises Inc. Page 1
YZENTitamar

(Detail, aged as of July 31, 2024)

Aged by document date.

Document Number is Extemal Document No,

No. Name Document
Doc.
Doc Date Description Type Number Balance Due Current 31 - 60 Days 61-S0 Days OverS0 Days Curr.
ABSOPURE ABSOPURE WATER COMPANY Phone: (800) 422-7678 Contact:
4/18/2024 ABSOPURE WATER COMPAN Payment -10.73 0.00 0.00 6.06 10.73
4/30/2024 = Invoice UPI014764 Invoice = 79211883 81.28 0.00 0.00 0.06 81.28
ABSOPURE Total Amount Due 70,56 0.00 0.00 0.00 70.55
6.00% 0.00% 0.00% 100.00%
AMEX AMERICAN EXPRESS Phone: (800) 492-8468 Contact:
3/22/2023 = Invoice UPIO13971 Inveice MAR2023 -TM 6.52 0.00 0.00 0.00 6.52
3/22/2023 AMERICAN EXPRESS -100.71 0.00 0.00 0.00 +100.71
3/22/2023 = Invoice UPIO13974 Invoice =MAR2023 - DO 202.55 0.00 0.00 0.00 202.55
3/22/2023 = Invoice UPIO13975 Inveice ~=MAR2023 - iNT 775.11 0.00 0,00 0.00 775.11
4/13/2023 AMERICAN EXPRESS 3,333.15 0.00 0.00 0.00 3,333.15
4/19/2023 AMERICAN EXPRESS ~195.73 0.00 0.00 0.00 -195.73
4/23/2023 Invoice UPIO14050 Inveice APR2023 - JM $57.58 0.00 6.00 0.00 557.58
4/23/2023 = Invoice UPIO14052 Invoice = APR2023-TM 905.64 0.00 0.00 0,00 905.64
4/23/2023 Invoice UPIO14054 Invoice APRIL2023 -D 328.37 0.00 0,00 0,00 328.37
4/23/2023 Invoice UP 1014055 Invoice ~=APRIL2023 - IN 905.03 0.00 6.00 0.00 905,03
4/30/2023 AMERICAN EXPRESS 4,674.00 0,00 9.00 0.00 4,674,00
4/30/2023 AMERICAN EXPRESS 7,893.20 0.00 0.00 0.00 7,893.20
§1/2023 Order PO105400 Invoice 913489 661.85 0.00 6.00 0.00 661.85
5/31/2023 inveice UPIO14264 Invoice =MAY2023 39.00 0.00 0.00 0.00 39.00
6/1/2023 Inveice UPI014285 Invoice = JUNE2023 212.23 0.00 0.06 0.00 212.23
6/7/2023 Order PO105451 Inveice 1046566 181.78 6.00 0.00 9,09 181.78
7/1/2023 —s Invoice UPI014286 Inveice = JULY2023 214.88 0.00 0.60 6.00 214.88
7/7/2023 Onder PO105460 Invoice 1040456 227.07 9.00 0.60 6.00 227.07
7/11/2023 = Order PO105485 Invoice 91040694 1,075.83 0,06 0.00 9.00 1,075.83
7/24/2023 = Order PO105507 Invoice §=1049344 302.76 0,06 0.00 6,00 302.76
8/1/2023 —s Invoice UP1014287 Inveica §=AUG2023 300,89 0.00 0.00 6.00 300.89
a18/2023 Order PO105577 Inveice = 4195371713 299,94 0.00 0.60 0.00 299,94
8/28/2023 Order PO105560 Invoice §=1051735 107.95 0.00 0.00 0.00 107.85
9/5/2023 = Order PO105566 Invoice $= 9/5/2023 18.65 0.00 0,00 0.00 19.65
9/5/2023 Order PO105569 Invoice 9-§-23 28.98 0.00 0.00 0.00 28.98
9/7/2023 «= Order PO105571 Invoice §=9/6/23 83.45 0.00 0.00 0.00 83.45
9/30/2023 = Invoice UPI014413 invoice SEPT2023 148.03 0.00 0.00 0.00 148.03
9/30/2023 = Invoice UPI014414 invoice SEPT2023 - IN 206.33 0.00 0.00 0.60 206.33
10/1/2023 = Invoice UPIO14475 Invoice §=OCT2023 - JM 44.80 0.00 0.00 0.00 44.80
10/1/2023 Invoice UPIO14416 Inveice =OCT2023 - DO 36,00 0.00 0.00 0.00 36.00
10/1/2023 Invoice UPIO14417 Invoice §=OCT2023 - INT 199.72 0.00 0.00 0.00 199.72
10/1/2023 Invoice UPIO14418 Invoice §=OCT2023 1,200.00 0.00 0.00 0.00 1,200.00
41/14/2023 Order PO105284 Invoice =. 141422 80.78 0.00 0.00 0.00 80.78
11/20/2023 Invoice UPIO14510 Invoice =NOV2023 - INT 211.61 0.00 6.00 0.00 211.61
12/1/2023 Order PO105114 Invoice §=060222 80.91 0.00 6.00 0.00 60.97
12/9/2023 Order PO105350 Inveice 020923 134.64 0,60 0.00 0.00 134.64
12/19/2023 Order PO1GS684 Invoice = IN309964 102.79 0.06 0.00 0.00 402.79
2/9/2024 «= Order PO105738 Inveice $= 2/08/24 40.00 6.00 0.00 6.00 40.90

2/13/2024 «Order PO105741 Invoice 1062603 151.38 0.00 0.00 9.00 181.38
Aged Accounts Payable Tuesday, August 20, 2024 1:03 PM
¥Z Enterprises Inc. Page 2
YZENT\Wamar

(Detail, aged as of July 31, 2024)

No. Name Document. Aged Vendor Balances
Doc Date Description Type Number Balance Due Current 31 - 60 Days 61-90 Days Over 90 Days wt
2/16/2024 AMERICAN EXPRESS Payment 1,474.00 0.00 0.00 0.00 1,474.00
AMEX Total Amount Due 17,538.66 0.00 0.00 0.00 17,538.66
0.00% 0.00% 0.00% 100.00%
ANTIBUSSC ANTIBUS SCALES & SYSTEMS Phone: 418-872-8628 Contact:
4/26/2024 = Invoice UPIO14761 Inveice §=0491429-IN 393.29 0.00 0.00 0.00 393.29
ANTIBUSSC Total Amount Due 393.29 0.00 0.00 0.00 393,29
0.00% 0.00% 0.00% 100,00%
ARCBEST ArcBest Phone: 419-476-8667 Contact:
10/28/2623 Invoice UPIO14476 Inveice 066048055 271.47 0.00 0.00 0.00 271.47
11/14/2023 Invoice UPIO14439 Invoice 086048659 896.31 0.00 0,00 0.00 896.31
11/20/2023 Invoice UPIO14443 Inveice = 066016123 360.71 0.00 0.00 0.00 360.71
11/20/2023 Invoice UPIO14446 Inveice 066016123. 396.60 0.00 0.00 0.00 398.60
41/20/2023 Invoice UPIO14478 Inveice 066047651 256,30 6.00 6.00 0.00 256.30
11/29/2023 Invoice UPI0N14533 Inveice 9436112278 §,016,00 0.00 0.00 0.00 5,016.00
2/6/2024 — Invoice UPI014648 Invoice 066071152 361,29 0.00 6.00 0.00 361,29
2/7/2024 —s Invoice UPI014649 Invoice 066048026 456.27 0.00 6,00 0.00 456.27
2/7/2024 — Invoice UPi014650 Invoice 066048029 664.15 0.00 6.00 0.00 664.15
2/7/2024 —s Invoice UPION14652 Invoice 066048030 453.17 0.00 0.00 0.00 453.17
2/7/2024 ~—s Invoice UPI014653 Invoice 066048026 1,091.55 0.00 6.00 0.00 1,091.55
2/12/2024 = Invoice UPI014654 Inveice 066065760 533.77 0.00 0.00 0.00 $33.77
22/2024 = Invoice UPIO14655 Invoice 066065759 662.08 0.00 6.00 0.00 662.08
2/14/2024 = Invoice UPIO14656 Invoice 066094104 287.01 0.00 6.00 0.00 287.01
2/14/2024 = Inveice UPIN14657 Invoice 066094105 350.55 0.00 0.00 0.00 350.55
2/16/2024 Invoice UPI014658 Invoice 066048032 T7377 0.00 0.00 0.00 TRA T
2/18/2024 = Invoice UPI014659 Inveice 066048031 459,92 0.00 0.00 0.00 459.92
2/20/2024 = Invoice UP1014660 Inveice 066048356 324.01 6.00 0.00 9.00 324.01
2/20/2024 ~— Invoice UPi014661 Invoice 066048354 564.08 0.00 0,00 0.00 564.08
2/20/2024 invoice UPI014662 Invoice 066048355 618.91 0,00 6.00 0.00 518.91
2/20/2024 Invoice UPI014673 Invoice 066048354. 85.00 0.00 6,00 6.00 35.00
2/27/2024 ~— invoice UPI014666 Invoice 066046356. 60.00 6.00 0.00 9.00 80.00
2/27/2024 = invoice UPIN14674 Inveice 066048357 918.66 6.00 0.00 6,00 918.66
2/27/2024 = Invoice UP 1014675 Inveice 066046356 815.79 6.00 0.00 9.00 815.79
2/27/2024 = Invoice UPI014676 Invoice 066048360 468.53 6.00 0.00 6.00 468.53
2/27/2024 = Invoice UPIO14877 Invoice 066048359 732.02 0.00 0.00 6.00 732.02
2/28/2024 = Invoice UPI014697 Invoice 066048362 603.34 0.00 0.00 6.00 $03.34
2/28/2024 = Invoice UPIO14698 Invoice §=066048361 323.45 0.00 0.60 6.00 323.45
3/13/2024 = Invoice UPIO14714 Invoice §=066048364 294.27 0.00 6.00 6.06 294.27
3/13/2024 = Invoice UPIO14715 Invoice 066046363 1,435.75 0,06 0.00 0.00 1,435.75
3/13/2024 + ArcBest 1,324.52 0.00 6.00 6.00 1,324.52
ARCBEST Total Amount Due 19,112.21 0.00 0.00 0.00 19,112.21

0.00% 0.00% 0.00% 100,00%
Aged Accounts Payable
Y¥Z Enterprises inc,

(Detail, aged as of July 31, 2024)

No. Narne Document
Doc Date Description Type Number

ARROWHEA ARROWHEAD ARCHITECTURAL COM = Phone:
10/1/2022 = Invoice UPI013643 Inveice 3568
2/1/2024 Invoice UPI014643 Invoice 80

ARROWHEA Total Amount Bue

BANDBBOX BAND B BOX COMPANY Phone:
4/18/2024 Order PO105797 Inveice = 117174
4/29/2024 Order PO105798 Invoice = 117224
6/3/2024 BAND B BOX COMPANY
6/18/2024 8 AND B BOX COMPANY Payment
6/25/2024 8B AND B BOX COMPANY
6/25/2024 9=Order PO105357 invoice §=117414
7730/2024 BAND B BOX COMPANY

BANDBBOX Total Amount Due

BANKOFAM BANK OF AMERICA CC Phone:
11/7/2023 BANK OF AMERICA CC Payment
11/16/2023 BANK OF AMERICA CC Payment
11/22/2023 BANK OF AMERICA CC Payment

BANKOFAM Total Amount Due

BAPUALMO BAPU ALMOND CO. Phone:
VA2023 Order PO105340 Invoice 2022-2574
§/26/2023 Order PO10S446 invoice 2022-2665
92/2023 Order PO105595 invoice 2022-2768
11/29/2023 Order PO105667 Invoice 2023-2865
4/17/2024 Order PO108775 Invoice 92023-2973

BAPUALMO Total Amount Due

BELLFLAVO BELL FLAVORS & FRAGRANCES Phone:
9/19/2023 Order PO105573 Invoice CINO16703
9/22/2023 Order PO105576 Inveice CINO16750
11/21/2023 Order PO105633 Invoice = CINO19492
12/21/2023 Order PO105664 Invoice CINO20897

Balance Due

32.70
32.70

65.40

419-872-5600

445.75
1,270.73
1,716.48
1,066.00
-§55.20
545.50
-1,402.00

“2,477.70

800-346-3178

-1, 477.42
600.00
-1,500,00

3,477.42

569-331-1556

21,764.00
38,600.00
38,503.50
36,000.00
36,000.00

170,867.50

800-323-4387

178.62
1,581.22
1,219.94
1,954.33

Tuesday, August 20, 2024 1:03 PM

Page 3
YZENTYamar
Aged Vendor Balances
Doc,
Current 3-60 Days 61 - 90 Days Over 90 Days $9 Gurr.
Contact:
0.00 6.00 0.00 32.70
0.00 0,06 6.00 32.70
9.00 0.00 0.00 65.40
0.00% 0.00% 0.00% 100.00%
Contact: BRENTY RYAN
0.00 0.00 0.00 445,75
0.00 0,00 0.06 1,270.73
0.60 1,716.48 0.00 0.00
0.00 -1,066.00 0.00 0.00
0.00 -$55,20 0.00 0.00
0.00 545.50 0.00 0.00
1,402.00 0.00 0.00 6.00
-1,402,00 -2,792.18 0.00 1,716.48
56.68% 112.69% 0.00% 69.28%
Contact:
9,00 0.00 0.00 1,477.42
6.00 6.00 0,00 -500,00
6.00 0.00 6.00 -1,506.00
6.00 0.00 6.00 3,477.42
0.00% 6.00% 0.00% 409,00%
Contact:
0,00 0.00 9.60 21,764.00
0.00 0.00 0.00 38,600.00
0.00 0.00 0,00 38,503.50
0,00 0.00 0.00 36,000.00
0.00 0.00 0.00 36,000.00
0.00 6,00 0.00 170,867.50
0.00% 0.00% 0.00% 100.00%
Contact; MARK TIGER
0.00 0.00 0.00 179.62
0.00 0.00 0,00 1,581.22
0.00 0.00 0.00 4,219.94
0.00 0.00 0.00 1,954.33
Aged Accounts Payable Tuesday, August 20, 2024 1:03 PM
Y¥Z Enterprises Inc. Page 4
YZENTitamar
(Detail, aged as of July 31, 2024)
No. Name Document Aged Vendor Balances
Boc,
Doc Date Description Type Number Balance Due Current 34 -60 Days 61-90 Days Over90 Days Curr.
2/19/2024 Order PO105708 Inveice § CING23301 2,244.35 0.00 0,00 6.00 2,244,35
BELLFLAVO Total Amount Due 7,179.46 0.00 0.00 0.00 7,179.46
0.00% 0.00% 0.00% 100.00%
BIOTRAX BIOTRAX Phone: 716-651-0146 Contact:
4/25/2024 BIOTRAX Payment 324.35 0.00 0.00 0.00 324.35
BIOTRAX Total Amount Due 324.35 0.00 9,00 0.00 324.35
0.00% 0.00% 0.00% 100,00%
BLOMMERC CHOGOLATE WHOLESALE STORE Phone: 414-949-1094 Contact:
4/1/2024 Order PO105754 Invoice 9005065 1,292.88 0.00 9.00 0.00 1,292.88
BLOMMERC. Total Amount Due 1,292.88 0,00 0.00 0.60 4,292.88
0.00% 0.00% 0.00% 100.00%
BONSALES BON SALES & MARKETING Phone: (707) 538-0371 Contact:
12/31/2023 Invoice UPIO14574 Inveice = UPIO14574 7,178.93 0.00 0.06 0.00 7,178.93
BONSALES Total Amount Due 7,178.93 9.00 0,06 0.00 7,178.93
0.00% 0.00% 6.00% 100.00%
BPIEQUIPFM SPI EQUIPMENT INC Prone: Contact:
9/8/2023 Invoice JPIO14 740 Invoice § 15090 431,00 0.00 0.00 0.00 431.00
4/24/2024 = invoice UPI014741 Invoice = 15154 216.00 0.00 0.00 0.00 210.00
4116/2024 = BPI EQUIPMENT INC Payment ~295.00 0.00 0.60 0.00 -295.00
BPIEQUIPM Total Amount Due 346.00 0.00 0.00 0.00 346,00
0.00% 6.00% 0.00% 100.00%
BRENNTAG BRENNTAG Phone: 615-401-3848 Contact: SARA LARSEN
3/11/2024 Ordar PO105759 Invoice 5610668-00 642.00 0.00 0.00 5.00 642.00
BRENNTAG Total Amount Due 642.00 0.00 9.00 6.00 642.00
0.00% 0.00% 0.00% 100,00%
BRIGHTHO BRIGHTHOUSE Phone: Contact:
4/16/2024 = Invoice UPIO14716 Invoice §=2122859572JA 524.17 0.00 6.00 6.00 $24.17
BRIGHTHO = Total Amount Due 524.17 0.00 6.00 0.00 §24.17

Aged Accounts Payable Tuesday, August 20, 2024 1:03 PM
YZ Enterprises Inc. Page 5

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(Detail, aged as of July 31, 2024)

No. Name reesecseree Document ............ Aged Vendor Balances
Doe.
Doc Date Description Type Number Balance Due Current 31-60 Days 61 - 90 Days Over 90 Days 9 Curr.
0.00% 0.00% 0.00% 100,00%
CITYMAUM = CITY OF MAUMEE - UTILITIES Phone: (419) 897-7127 Contact:
4/22/2024 CITY OF MAUMEE - UTILITIES Payment 89.00 9.00 6.00 0.00 3.00
7/29/2024 CITY OF MAUMEE - UTILITIES 434,73 634.73 6.00 0.00 0.90
CITYMAUM = Total Amount Due 723.73 634.73 0.00 0.00 89.00
87.70% 0.00% 6.00% 12.30%
COLUMBIA COLUMBIA GAS Phone: Contact:
3/18/2024 = Invoice UPIO14755 Inveice MAR2024 72.00 6.00 0.60 0.00 752.00
3/18/2024 COLUMBIA GAS -752.00 6.00 0,00 0.00 -752.00
5/21/2024 COLUMBIA GAS Payment -2,086.33 0.00 6,60 2,086.33 6.00
COLUMBIA =Total Amount Due -2,086.33 0.00 0.00 -2,086.33 0.00
0.00% 0.00% 100.90% 0.00%
COMPLETE COMPLETE REFRIGERATION LLC Phone: 419-861-5150 Contact:
1/11/2024 = Invoice UPIO14545 Invoice = 85906 287.06 0.00 0,00 6.00 287.06
COMPLETE Total Amount Due 287.06 0.00 9,00 6.00 287.06
0.00% 0.00% 0.00% 100.00%
CRYSTALLA CRYSTAL LAKE LLG Phone: (574) 858-2514 Contact:
8/24/2023 Order PO105542 Inveice 02-108337 441.00 0,00 6,00 0.60 441.00
8/91/2023 «Order PO105554 Invoice = 02-108426 2,184.00 0.00 0.00 0,00 2,184.00
9/7/2023 Order PO105564 Invoice 02-108447 2,016.00 0.00 0.00 0.00 2,016.00
9/21/2023 Order POT05585 invoice 02-108633 2,076.00 6.00 0.00 0.00 2,016.00
9/28/2023 Order PO105594 Invoice §=02-108725 2,016.00 0.00 0.60 0.00 2,016.00
10/6/2023 Order PO105601 Invoice 02-10B752 4,747.20 0.00 0.00 0.00 1,747.20
10/12/2023 Order PO105608 Invoice 02-108843 1,209.60 0.00 0.60 0.00 1,209.60
41/16/2023 Order PO105638 Invoice XX-XXXXXXX 1,236.00 0.00 0.00 0.00 1,236.00
11/22/2023 Order PO105646 Invoice = 92-109282 2,317.50 0.00 0.00 0.00 2,317.50
11/30/2023 Order PO105850 Invoice 92-109332 2,317.50 0.00 0.00 0.00 2,317.50
12/20/2023 Order PO105677 Invoice §=02-109558 1,854.00 0.00 0.00 0.00 1,854.00
12/28/2023 Order PO105636 Invoice =. 02-109605 1,482.75 0.00 0,00 0.00 4,482.75
1/4/2024 Order PO105692 Invoice = -02-108670 4,935.00 0.00 0,00 0.00 4,935.00
1/31/2024 «=Order PQ105658 Invoice §=02-109434 1,645.00 0.00 0.00 0.00 1,545.06
21/2024 Order PO105721 Inveica §=02-110003 1,584.08 0.00 0.00 6.00 1,584.00
2/8/2024 Onder PO105716 Invoice §=02-109900 1,392.00 0.00 0.00 0.00 1,392.00
2/15/2024 Order PO105733 Invoice §=—02-110073 1,596.00 0.60 6.00 0.00 1,596.00
2/29/2024 «= Order PO105748 invoice §=02-110 184 1,596.00 0.00 0.00 0.00 1,596.00
a72024 Order PO1W5757 Inveica = 02-110224 3,048.00 3.00 0.00 0.00 3,045.00
3/14/2024 «Order PO105764 Invoice = 02-110301 2,214.00 0.00 0.60 0.00 2,214.00

3/28/2024 Order PO105776 Invoice §=92-110496 841,80 0.00 0.00 0.00 841,80
Aged Accounts Payable Tuesday, August 20, 2024 1:03 PM

YZ Enterprises Inc. Page &
YZENTitamar
(Detail, aged as of July 31, 2024)
No. Name Document Aged Vendor Balances
Doc.
Doc Date Description Type Number Balance Due Current 31 - 60 Days 61-90 Days Over 90 Days = Gurr.
3/29/2024 CRYSTAL LAKE LLC Payment ~1,341.80 0.00 0.00 0,00 1,341.80
4/2024 =CRYSTAL LAKE LLC Payment -1,500.00 0.00 0,00 0,00 1,500.00
4/3/2024 CRYSTAL LAKE LLC Payment 428,00 0.00 0.00 0.06 428.00
4/4/2024 = Order PO105783 Inveice = 02-110553 1,428.00 0.00 0.00 0.00 1,428.00
4/8/2024 «=9CRYSTAL LAKE LLC Payment -2,500.00 0.00 0.00 0,00 2,560.00
4/11/2024 Order PO105787 Inveice §=02-110604 2,066.40 0.00 0.00 0.06 2,066.40
5/2/2024 Order PO105800 Invoice § 02-110847 887.70 0.00 0.00 887.70 0.00
5/6/2024 CRYSTAL LAKE LLC Payment -1,060.00 0.00 0.00 -1,000.00 0.00
5/6/2024 CRYSTAL LAKE LLC Payment -1,600,.00 0.00 0.00 “1,500.00 0.90
532024 Onder PO105807 Invoice = 02-110959 3,604.80 0.00 0.00 3,604.86 0.00
5/14/2024 CRYSTAL LAKE LLC Payment 1,500.00 0.00 0.00 -1,500,00 0.00
§/18/2024 CRYSTAL LAKE LLC 5,700.00 0.00 0.00 §,700,00 0.00
5/29/2024 Order PO105820 Invoice = 02-111157 2,468.40 0.00 0.00 2,468.40 0.00
6/3/2024 =CRYSTAL LAKE LLC Payment =1,800,00 0,00 -1,800.00 0.00 0.06
6/6/2024 = Order PO105834 Invoice = 02-111239 788.40 0.00 788.40 0.00 0.06
6/10/2024 CRYSTAL LAKE LLC Payment -1,782.00 0.00 -1,782,00 0.00 0.00
6413/2024 Order PO105841 Inveice = 02-111306 1,782.00 0.00 1,782.00 0.06 0.00
8417/2024 CRYSTAL LAKE LLG Payment 1,000.00 0.00 “1,000.00 0.00 0.00
6/18/2024 CRYSTAL LAKE LLC Payment 1,212.00 0.00 “1,212.00 0,00 0.00
6/20/2024 Order PO105850 Inveice = 02-111355 2,211.99 0.00 2,211.99 0,00 0.00
6/24/2024 CRYSTAL LAKE LLC Payment -1,303.50 0.00 1,303.50 0.00 0.00
6/27/2024 Order PO105855 Inveice = 02-111447 1,303.50 0.00 1,303.50 0.00 0,00
7/1/2024 = CRYSTAL LAKE LLG -2,133.00 -2,133.00 0.00 0.00 0.00
71/2024 «=CRYSTAL LAKE LLC -2,133.00 2,133.00 0.00 0.00 0.00
7/3/2024 = Order PO105865 Invoice §=02-111512 2,132.99 2,132.99 0.00 0.00 0,00
CRYSTALLA Total Amount Que 31,430.23 “2,133.01 -1,011.61 -2,739.10 37,313.95
4.79% -3.22% 8.71% 118.72%
DEMARCO& DEMARCO & ASSOCIATES LLG Phone: (419) 931 0250 Contact:
12/1/2023 DEMARCO & ASSOCIATES LL =1,860.00 0.00 0.00 0.00 -1,860.00
1/31/2024 = Invoice UPIN14750 Inveice = 171710 175.00 0.00 0.00 0.00 175.00
DEMARCO& Total Amount Due -1,685,00 0,00 0.00 0.00 -1,685.00
0.00% 0.00% 0.00% 100.00%
BETROITFO DETROIT FORMING, INC. Phone: (248) 352-8108 Contact:
4/1/2024 «= Order PO105613 Invoice §=SINV14871 §,413.26 0.06 0.00 0.00 5,413.26
DETROITFO Total Amount Due 5,413.26 0.00 6,00 0.00 5,413.26
0.00% 0.00% 0.00% 100.00%
DILLERAND BILLER AND RICE Phone: Contact:
4799/2024 =: DILLER AND RICE Payment -2,000,00 0.00 0.00 0,00 -2,000.00
5/30/2024 DILLER AND RICE Payment -1,500.00 0.00 0,00 -1,500.00 0.00
Aged Accounts Payable
¥Z Enterprises inc.

(Detail, aged as of July 31, 2024)

No.

Doc Date

5/30/2024

DILLERAND

ESTESEXP

4/4/2024
4/4/2024
4/18/2024
4/16/2024
5/28/2024
5/28/2024

ESTESEXP

FEDEX

3/8/2024
3/12/2024
5/30/2024
6/3/2024
Ti26/2024
72972024

FEDEX

FEDEXFREI

U 7/2024
4/30/2024

FEDEXFRE!

FIACARDSV

11/1/2023
12/1/2023
12/22/2023
10/2024

FIACARDSV

Deacription

DILLER AND RICE

Total Amount Due

ESTES EXPRESS LINES

Invoice UPIO14787
Invoice UPIO14788
Invoice UPIO14790
Invoice UPIO14794
Invoice UPIO 14786
Invoice UPIO14789

Total Amount Due

FEDEX

Invoice UPIO14635
FEDEX
FEDEX
FEDEX
FEDEX
FEDEX

Total Amount Due

FED EX FREIGHT

Invoice UP 1014688
Invoice UPIO14762

Total Amount Due

Invoice
Invoice
Invoice
Invoice
Invoice
Invoice

Invoice
Payment

Invoice
Invoice

HUNTINGTON FIA CARD SERVICES

invoice UPIO14569
Inveice UPIO14576

Invoice
Invoice

HUNTINGTON FIA CARD SER Payment

HUNTINGTON FIA CARD SER

Total Amount Due

Phone:
092-1781902
092-1781901
092-1781904
092-1781905

092-1781903
213-080B8365

Phone:

8-401-13831

Phone:

6220061256
6220061256-1

Phone:

NOV2023
BEC2023

Balance Due

~1,500.00

5,000.00

804-535-1900

420,44
561.14
330.98
290.85
718,19
4,084.00

6,402.60

355.74
355.74
1,008.18
973.16
~§24.88
-280.97

2,787.19

866-393-4585

363,57
1,977.89

2,341.46

27.45
1,384.65
~15,000.00
15,000.00

1,422.10

Currant

Tuesday, August 20, 2024 1:03 PM

Page 7
YZENT\amar
Aged Vendor Balances
Dos.
31 - 60 Days 61-90 Days Over 90 Days = Curr.

6.00 +1,500.00 0.00
6.00 3,000.00 -2,000.00

0.00% 60.00% 40.00%
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0.00 0.00 561.14
0.00 0.00 330.98
0.00 0.00 290,85
6,00 716.18 0.00
0,00 4,064.00 0.00
0.00 4,799.19 1,603.41

0.00% 74,96% 25.04%
0.00. 9.00 355.74
0.00 0.00 “355.74
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973.16 -1,008.18 0.00

34.92% 36.17% 0.00%
0.08 0.00 363.57
0.00 0.00 1,977.89
0.00 0.00 2,341.46

0.00% 0.00% 7100.00%
0.00 0,00 27.45
0.00 0,00 1,394.65
0.00 0.00 -15,000.00
0.00 6.00 16,000.00
0.00 0,00 1,422.10

0.00% 0,00% 100.00%
Aged Accounts Payable Tuesday, Auguat 20, 2024 1:03 PM
YZ Enterprises Inc. Page 38
YZENTiYamar

(Detail, aged as of July 31, 2024)

No. Name Document, Aged Vendor Balances
Doc.
Bec Date Description Type Number Balance Due Current 31 - 60 Days 61-90 Days Over 90 Days 9 Curr.
FOREMOST FOREMOST Phone: (425) 483-9090 Contact:
4/1/2023 Order PO105389 Invoice §= 1108406 871.93 0.00 6.00 0.00 871,93
4/27/2023 Order PO105349 Invoice §=1109770 2,643.69 0.00 0,00 0.00 2,643.89
§/5/2023 Invoice UPI014182 Invoice 100251664 216.26 0.00 6.00 0.00 216.26
FOREMOST Total Amount Due 3,732.08 0.00 6.00 0.00 3,732.08
0.00% 0.00% 0.00% 100.00%
GRACEIMA GRACE IMAGING LLC Phone: Contact:
9/8/2023 ~— Invoice UPIN14358 Inveice 25300 1,268.95 0.00 0,00 0.00 1,268.95
GRACEIMA Total Amount Due 41,268.95 0.00 0.00 0.00 1,268.95
0.00% 0.00% 0.00% 100.00%
GRAINGER WW GRAINGER, INC. Phone: (419) 666-3320 Contact:
5/1/2024 Invoice UPIO14768 Inveice 98086198679 441,12 0.00 0.00 0.08 41.12
GRAINGER Total Amount Due 41.12 0.00 0.00 0.06 41.412
0.00% 0.00% 0.00% 100.00%
GREATLAK GREAT LAKES SCIENTIFIC, INC Phone: 269-429-1000 Contact
2/2/2024 Invoice UPI014769 Inveice 40126 273.00 6,00 0.00 0.00 273.00
2/23/2024 = Invoice UPI014642 Inveice 40231 146.00 0.00 0.00 0.00 146.00
GREATLAK Total Amount Due 479.00 6.00 0.00 0,00 419.00
0.00% 0.00% 0.00% 100.00%
GROTE GROTE COMPANY, INC Phone: (888) 534-7683 Contact:
4/1/2024 = Order PO105781 Invoice §=73060 456.50 0.00 0.00 0.00 456.50
5/14/2024 «Order PO105809 Invoice §=73809 456.50 0.00 0.00 456.50 6.00
6/7/2024 Order PO105836 Invoice = 74165 456.50 0.00 456.50 6.00 6.00
GROTE Total Amount Due 1,369.50 0.00 456.50 456.50 456,50
0.00% 33.33% 33.33% 33.33%
HOBARTCO HOBART CORPORATION Phone: (734) 697-3070 Contact:
2/1/2024 Invoice UPIO14644 Inveice 35875285 512.67 0.00 0.00 0.00 §12.67
HOBARTCO Total Amount Due 512,67 0.00 0.00 0.60 612.67

0.00% 0.00% 6.00% 160.00%
Aged Accounts Payable
YZ Enterprises Inc.

(Detail, aged as of July 34, 2024)

No.

Doc Date

HYGIENA

8/10/2022
6/12/2023

HYGIENA

IMAGEGRP

21f2024
2/14/2024

IMAGEGRP

INGERSOLL

11/1/2023
2/18/2024

INGERSOLL

JONES&HE
1110/2022
8/2/2023

2/26/2024

JONES&HE

KELLERME

3/15/2023
10/1/2023

KELLERME

LANLYCO

443172024

LANLYCO

Name Document
Description Type Number
HYGIENA Phone
Invoice UPIO14718 Invoice =HLSI387825
Invoice UPIO14719 Invoice HLSI426427
Total Amount Due

IMAGE GROUP Phone:
Invoice UPIO14646 Inveice = INV4098047
Invoice UPI014765 Invoice = 1100488
Total Amount Due

INGERSOLL RAND AIR CENTERS Phone:
Inveice UPIO14472 Inveice 341078962
Invoice UP1O14640 Inveice = 31117964
Total Amount Due

Jones & Hanry Laboratories Inc Phone:
Invoice UPIO13729 Invoice 9210425
Invoice UPIO14300 Invoice = 215116
Invoice UPIO14641 Invoice §=218300
Total Amount Due

IMPERALDADE Phone:
Invoice UPIO13959 Inveice 6 756401-00
Invoice UPIO14346 Inveice 6022860-00
Total Amount Due

THE LANLY GOMPANY Phone:
Order PO105698 Invoice §=- 37304

Total Amount Dua

Balance Due

440-669-0658

289.71
3867.95

647,66

419-866-3300

397,12
267.66

664.78

2,354.69
2,354.89

4,709.78

419-666-0411
52.00
55.00

60.00

167.00

{419) 255-3022

84.22
103.27

187.49

(216) 734-1115

41,151.78

1,151.76

Current

Contact: SANDY MATIJEVIC

0.00
0.00

0.00
0.00%

Tuesday, August 20, 2024 1:03 PM

Page 9
YZENTWamar
Aged Vendor Balances
Doc.
31 -60 Days 61-90Days Over90 Days Curr.

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100.00%

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267.66

664,78
100,00%

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2,384.88

4,708.78
100.00%

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